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 Caption in Compliance with D.N.J. LBR 9004-
 2(c)
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                                                              Order Filed on October 9, 2020
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 In re:                                            Case No. 20-20524 (VFP)

 ZAYAT STABLES, LLC,                               Involuntary Chapter 7
                 Alleged Debtor.                   Judge: Hon. Vincent F. Papalia
      ORDER (I) GRANTING MOTION OF MGG INVESTMENT GROUP LP
EXCUSING DULY APPOINTED STATE COURT RECEIVER FROM COMPLIANCE
     WITH THE REQUIREMENTS OF BANKRUPTCY CODE SECTION 543(b)
[DKT. NO. 18] (THE “MOTION”); (II) GRANTING ADDITIONAL RELATED RELIEF
 REQUESTED IN THE MOTION; AND (III) PROVIDING FOR THE RESERVATION
 OF CERTAIN RIGHTS WITH RESPECT TO A CHAPTER 7 TRUSTEE APPOINTED
          IN THE ZAYAT STABLES INVOLUNTARY CHAPTER 7 CASE

      The Relief set forth on the following pages, numbered 7 through 15, is hereby ORDERED.



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     THIS MATTER having come before the Court upon (1) the motion of MGG Investment

    Group LP (“MGG”) seeking the entry of an order: (a) excusing Elizabeth Woodward, the Receiver

    for Zayat Stables1 appointed by the Commonwealth of Kentucky, Fayette Circuit Court (the

    “Receiver”) from compliance with the requirements of Bankruptcy Code Section 543(b);

    (b) during the “Gap Period,” allowing the Receiver to continue to use the cash proceeds of

    MGG’s Collateral2 (the “Cash Collateral”) and permitting MGG to continue to make, and the

    Receiver to accept, discretionary protective advances from MGG (in each case consistent

    with and to be governed by MGG’s rights as a secured creditor under the Loan Documents3),

    each as may be necessary to fund the ordinary course operations of the receivership and to

    preserve the Collateral until the Receiver completes the liquidation thereof; (c) granting limited

    relief from the automatic stay provisions of the Bankruptcy Code as and to the extent

    necessary to implement the relief sought thereby (the “Motion”); and (d) denying, or in

    the alternative, modifying the relief requested by the Petitioning Creditors in their motion

    seeking the appointment in the Zayat Involuntary Chapter 7 Case of an interim trustee,

    whether appointed in the “Gap Period” or thereafter (in either case, an “Interim Trustee”)

    [Dkt. No. 18] (the “Interim Trustee Motion”) and (2) the Receiver’s Combined Response to

    Motion to Appoint an Interim Trustee and Motion

1   For purposes of this order (the “Order”), Zayat Stables shall refer to Zayat Stables LLC or the Alleged
    Debtor during the “Gap Period,” and following the entry of an Order for Relief (as hereinafter defined),
    shall refer to Zayat Stables LLC as a chapter 7 Debtor. To the extent this Order is entered prior to the entry of an
    Order for Relief, this Order is intended to set forth the rights of the parties during the “Gap Period” and
    following the entry of an Order for Relief, shall remain in full force and effect and apply prospectively to set
    forth the rights of all parties in the Zayat Involuntary Chapter 7 Case, including any Interim Trustee
    or Chapter 7 Trustee (as hereinafter defined)appointed therein.
2   The reference to “Collateral” in this Order is not intended to expand the definition of “Collateral” in the Loan
    Documents to include Chapter 7 avoidance causes of action to the extent not already encompassed thereby
    under applicable law. For the avoidance of doubt, this Order is not intended to resolve any issues as to whether
    avoidance causes of action under the Bankruptcy Code are or are not included in the definition of Collateral or
    encompassed by MGG’s Liens under applicable law, and those issues are reserved.
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    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion
    (as hereinafter defined) or the Loan Documents (as defined in the Motion), as applicable.

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Case   Entry of an Order
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   Compliance (the “Receiver’s Response”) and no objection or other reply to the

   Motion or the Receiver’s Response having been filed; and the Petitioning

   Creditors and Donald V. Biase, the Chapter 7 trustee (the “Voluntary Chapter 7

   Trustee”) appointed in the voluntary Chapter 7 bankruptcy proceeding of Ahmed

   Zayat, Case No. 20-20387 (VFP) (the “Zayat Voluntary Chapter 7 Case”)

   having been timely served with the Motion, and the Petitioning Creditors

   having participated in a status conference (the “Status Conference”) held on

   September 18, 2020, and having agreed to a briefing schedule set by the Court

   during the Status Conference; and the Court having considered the Motion and the

   Receiver’s Response and the evidence submitted or adduced and the arguments of

   counsel made at the hearing held on October 6, 2020 (the “Hearing”); and the

   Hearing to consider the relief requested in the Motion having been held and

   concluded; and the Petitioning Creditors and the Voluntary Chapter 7 trustee

   in his capacity as the successor in interest to the membership interests in

   Zayat Stables having consented on the record to the entry of an Order for Relief with

   respect to the Zayat Involuntary Chapter 7 Case; and the Petitioning Creditors and

   the Voluntary Chapter 7 Trustee having consented to the form and entry of this

   Order; and the Court having scheduled a final hearing (a “Final Hearing”) to afford

   an Interim Trustee or a trustee appointed on a permanent basis in the Zayat Stables

   Involuntary Chapter 7 Case (an “Involuntary Chapter 7 Trustee”) the ability to

   address the issues reserved for in paragraph 9 hereof; and it appearing to the

   Court that granting the relief requested in the Motion and the Receiver’s Response, as

   hereinafter set forth, is necessary to avoid immediate and irreparable harm to Zayat

   Stables and its creditors, and is otherwise fair and reasonable and in the best

   interests of Zayat Stables, the Petitioning Creditors and other creditors, and is

   essential for the continued operation of the receivership and the orderly liquidation

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 of the Collateral; and after due deliberation and consideration, and good and sufficient

cause appearing therefor;

BASED UPON THE RECORD ESTABLISHED AT THE HEARING, THE COURT HEREBY

MAKES THE FOLLOWING FINDINGS OF FACT) AND CONCLUSIONS OF LAW

(COLLECTIVELY, THE “FINDINGS OF FACT AND CONCLUSIONS OF LAW”):

       A. Involuntary Petition Date. On September 14, 2020 (the “Involuntary Petition Date”),

           US Elite LLC, Joseph Bodner and Steven Keefer (together, the “Petitioning

           Creditors”) filed an involuntary chapter 7 petition against Zayat Stables, LLC pursuant

           to Bankruptcy Code Section 303(b), which involuntary proceeding was assigned Case

           No. 20-20524 (VFP) (the “Zayat Involuntary Chapter 7 Case”). As of October 8,

           2020, no order for relief (an “Order for Relief”) has been entered, and no Interim

           Trustee or Involuntary Chapter 7 Trustee has been appointed in the Zayat Involuntary

           Chapter 7 Case.

       B. Jurisdiction and Venue. The Court has jurisdiction, pursuant to 28 U.S.C. §§ 157(b)

           and 1334, over these proceedings, and over the persons and property affected hereby.

           Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2).

           Venue for the case and proceedings on the Motion is proper in this district pursuant to

           28 U.S.C. §§ 1408 and 1409.

       C. Qualifications of the Receiver. The Court, having reviewed the record, determines that

           the Receiver took possession of the assets of Zayat Stables on or about January 22,

           2020. The Court further finds that the Receiver and her consultant are qualified to

           maintain the assets of Zayat Stables and liquidate the Collateral in a manner that is in

           the best interest of the creditors in this case.



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      D. Continued Need for Funding. The Receiver’s ability to continue to administer the

         assets of Zayat Stables and liquidate the Collateral is immediate and critical in order to

         preserve the value of the Collateral pending the orderly sale and liquidation thereof.

         The only option that has provided, and would continue to provide, the Receiver with

         the ability to continue to administer the assets of Zayat Stables and to fund the ordinary

         course operations of the receivership as she completes the liquidation of the Collateral,

         is the continued availability of funding from MGG through the approved use of MGG’s

         Cash Collateral and discretionary protective advances from MGG, the absence of

         which would immediately and irreparably harm the receivership and creditors of Zayat

         Stables. The Receiver does not have working capital or other sources of funding that

         may be used to continue to operate the business of Zayat Stables in the ordinary course

         or to maintain the Collateral pending the liquidation thereof without continued access

         to MGG’s Cash Collateral and discretionary protective advances.

      E. No Credit Available on More Favorable Terms. The receivership is unable to obtain

         financing from sources other than MGG or on terms more favorable than those set forth

         herein. The Receiver is unable to obtain unsecured credit allowable under Bankruptcy

         Code Sections 364(a) and (b) and 503(b)(1) as an administrative expense. The

         Receiver is also unable to obtain credit: (a) having priority over that of administrative

         expenses of the kind specified in Sections 503(b), 507(a) and 507(b) of the Bankruptcy

         Code; (b) secured by a lien on property of the receivership that is not otherwise subject

         to a lien; or (c) secured solely by a junior lien on property of the receivership that is

         subject to a lien.




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      F. Use of Cash Collateral/Discretionary Protective Advances. As a condition to MGG

         agreeing to permit the Receiver to continue to fund reasonable and necessary operations

         of the receivership, MGG requires, and the Receiver has agreed, that MGG’s Cash

         Collateral and discretionary protective advances shall continue to be used solely for the

         payment of ordinary and necessary expenses of the receivership, pursuant to and

         consistent with all of MGG’s rights as a secured creditor under the Loan Documents

         and the terms of this Order.

      G. Interests of Creditors Better Served By Receiver. Pursuant to Bankruptcy Code Section

         543(d)(1), the interests of creditors would be better served by permitting the Receiver

         to continue in possession, custody and control of the remaining Collateral in order to

         complete the liquidation thereof, in accordance with the Receiver Order (as hereinafter

         defined) and this Order. The Receiver qualifies as a “custodian” for purposes of

         Bankruptcy Code Section 543(d)(1).

      H. Preservation of MGG’s Interests. Insofar as the Receiver (i) is unable to obtain credit

         on behalf of the receivership from any source other than MGG, (ii) cannot provide

         MGG with any form of adequate protection related to the use of MGG’s Cash Collateral

         or discretionary protective advances, and (iii) requires MGG’s consent to the use of

         MGG’s Cash Collateral and discretionary protective advances, in accordance with the

         terms of this Order, MGG is entitled to the continuing and uninterrupted protection of

         its Liens (collectively, the “Liens”), security interests and other rights under the Loan

         Documents to the extent that MGG’s Cash Collateral and discretionary protective

         advances are required in order to fund the continued operation of the receivership,

         administer the remaining assets, and liquidate the Collateral.



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      I. MGG’s Good Faith. The terms and conditions under which MGG has agreed to permit

         the Receiver use of its Cash Collateral and discretionary protective advances to fund

         the ordinary and necessary expenses of the receivership as the Receiver administers the

         assets and completes the liquidation of the Collateral (a) are fair, reasonable, and the

         best available to the Receiver under the circumstances, (b) reflect the Receiver’s

         exercise of prudent business judgment consistent with her fiduciary duties, (c) is

         supported by reasonably equivalent value and fair consideration, and (d) were

         negotiated in good faith.

      J. Notice. Notice of the Hearing and the relief requested in the Motion have been provided

         by MGG to counsel for the Petitioning Creditors, counsel for Ahmed Zayat, counsel

         for the Voluntary Chapter 7 Trustee, the Office of the United States Trustee, counsel

         for the Receiver, and all persons or entities that have requested notice in the Zayat

         Involuntary Chapter 7 Case, whether by email, overnight courier or hand delivery, as

         set forth in the Certificate of Service, dated September 30, 2020 on file with the Court

         [Dkt. No. 24]. MGG has made reasonable efforts to afford the best notice of the

         Hearing possible under the circumstances and such notice is good and sufficient to

         permit the relief set forth in this Order, and no other or further notice is or shall be

         required.

      K. Final Hearing. Paragraph 13 of this Order schedules a Final Hearing with respect to

         those limited matters reserved for in paragraphs 9 and 11 herein and the entry of a

         Final Order with respect to such matters (the "Final Order"), and notice of such

         Final Hearing is good and sufficient notice, and no other or further notice is or shall be

         required.



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       Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,


       IT IS HEREBY ORDERED that:

       1.      The Motion is granted as set forth herein.

       2.      Continued Performance of the Receiver. Pending further order of the Court at a

Final Hearing, the Receiver’s continued performance pursuant to and consistent with the Order

Appointing Receiver dated January 22, 2020 and the Order Modifying Order Appointing Receiver

dated March 9, 2020 (together, the “Receiver Order”) is approved. The Receiver shall continue

to be vested with such power and authority provided for under the Receiver Order and is authorized

to continue to perform, incur and undertake all ordinary and necessary duties with respect to the

operation of the receivership, the administration of the remaining Collateral, and the liquidation of

the Collateral, all as set forth in the Receiver Order, in accordance with the terms set forth therein

and herein. The Receiver shall file on the docket in the Zayat Involuntary Chapter 7 Case, copies

of all reports prepared in accordance with the terms of the Receiver Order, and shall serve copies

of same on the Voluntary Chapter 7 Trustee. Further, the Receiver shall provide the Voluntary

Chapter 7 Trustee and the Involuntary Chapter 7 Trustee reasonable access to, or complete copies

of, those books and records of Zayat Stables that were previously turned over to the Receiver; it

being understood that the Receiver makes no representation as to whether the books and records

turned over pursuant to the Receiver Order represent full and complete copies of all books and

records previously in the possession and control of Zayat Stables and/or its retained professionals.

All parties are hereby directed to cooperate in good faith and not to interfere with the duties that

the Receiver is authorized to perform in accordance with the Receiver Order and this Order.

Pending further order of the Court at a Final Hearing, any Interim Trustee, or any Involuntary



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Chapter 7 Trustee (as applicable), shall perform its duties in a manner otherwise consistent with

this Order, and shall not interfere with the duties delegated to the Receiver pursuant to the Receiver

Order and this Order.


        3.     Receiver’s Excusal from Compliance with Bankruptcy Code 543(b). Pending

further Order of the Court at a Final Hearing, the Receiver is hereby excused from compliance

with the requirements of Bankruptcy Code Section 543(b) and is directed to continue her work of

maintaining and liquidating the Collateral of Zayat Stables in the manner that she has employed in

the receivership.

        4.     Use of MGG’s Cash Collateral and Discretionary Protective Advances. Pending

further Order of the Court at a Final Hearing, the Receiver, in her capacity as such, is hereby

authorized and directed to administer the operations of Zayat Stables and to liquidate the Collateral

pursuant to and consistent with the Receiver Order, and in connection therewith, is authorized to

use MGG’s Cash Collateral and discretionary protective advances (each subject to the consent of

MGG), for the limited purpose of funding the ordinary course operations of the receivership, and

the ordinary and necessary expenses related to the liquidation of the Collateral consistent with past

practices.

        5.     Protection of MGG as a Secured Party. Pending further Order of the Court at a

Final Hearing (i) the Receiver is authorized to continue to use MGG’s Cash Collateral, and (ii)

MGG is authorized to continue to make, and the Receiver is permitted to continue to accept,

discretionary protective advances from MGG, subject to and consistent with all of MGG’s

continuing and uninterrupted Liens to the extent of the status of such Liens as of the Involuntary

Petition Date against, and rights to, the Collateral and the proceeds of the Collateral pursuant to

the Loan Documents, to the extent necessary to fund the ordinary course operations of the



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receivership and to preserve the Collateral until the Receiver completes the liquidation thereof.

The Receiver’s use of MGG’s Cash Collateral and discretionary protective advances shall continue

to be governed in all respects by MGG’s rights as a secured creditor under the Loan Documents.

       6.      Use of Proceeds. Pending further Order of the Court at a Final Hearing, as a

condition to MGG agreeing to continue to allow the Receiver to use MGG’s Cash Collateral and

discretionary protective advances to fund the ordinary and necessary expenses of the receivership,

MGG requires, and the Receiver has agreed, that the proceeds of the Collateral shall continue to

be used solely for the limited purpose of funding the ordinary course operations of the receivership

in order to administer and liquidate the remaining Collateral. Pending further Order of the Court

at a Final Hearing, the Receiver is hereby directed to continue to hold, subject to MGG’s rights as

provided for in the Loan Documents and herein, any and all proceeds of the Collateral that are not

used to fund the ordinary and necessary expenses of the receivership.

       7.      Obligations. Pending further Order of the Court at a Final Hearing, all Obligations

incurred after the Involuntary Petition Date and through the date of a Final Hearing, in accordance

with the Loan Documents and this Order shall be fully earned and payable in accordance with the

terms of the Loan Documents and this Order, and shall represent valid and binding Obligations of

the estate of Zayat Stables and any successors thereto, including, without limitation, any Interim

Trustee, Involuntary Chapter 7 Trustee or other estate representative appointed in this case.

       8.      Modification of Automatic Stay. Pending further Order of the Court at a Final

Hearing, the automatic stay imposed under Bankruptcy Code Section 362(a) shall be and hereby

is modified as and to the extent necessary to effectuate all of the terms and provisions of this Order.

       9.      Reservation of Rights.




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       (a) This Order shall be sufficient and conclusive evidence of the existence of MGG’s

continuing and uninterrupted Liens against the Collateral as provided for in the Loan Documents

without the necessity of filing or recording any financing statement, mortgage, notice or other

instrument or document that may otherwise be required under the law or regulation of any

jurisdiction or the taking of any other action to establish the existence of such Liens to the extent

of the status of such Liens as of the Involuntary Petition Date. Notwithstanding the foregoing, the

terms of this Order remain subject to the rights of an Involuntary Chapter 7 Trustee to examine,

investigate, and challenge the priority, validity, enforceability and perfection of the Obligations,

Liens, and other rights secured by the Collateral under the Loan Documents, and MGG’s rights

with respect to the Collateral (including Cash Collateral), as further provided for in a Final Order

(collectively, the “Reserved Rights of an Involuntary Chapter 7 Trustee”). Notwithstanding

the preceding sentence of this paragraph 9(a) or any contrary provision in paragraph 11 hereof,

nothing in this Order shall affect MGG’s rights with respect to the Receiver’s continued use of

Cash Collateral and/or MGG’s making of, and the Receiver’s use of discretionary protective

advances, which shall be governed in all respects (as and to the same extent that such advances are

made to the Receiver) in accordance with the Loan Documents.

       (b) Except as otherwise provided for in this Order (or as may hereafter be provided for in

a Final Order), the Voluntary Chapter 7 Trustee is reserving and not waiving such rights and

claims, including claims under the Bankruptcy Code, if any, as he has or may have in the Zayat

Involuntary Chapter 7 Case, and all other parties are reserving such rights claims and defenses as

they have or may have in response thereto or in the Zayat Voluntary Chapter 7 Case.




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       10.       Effect of Order. The relief set forth in this Order is and shall be effective from the

Involuntary Petition Date forward and shall continue in full force and effect through the

completion of a Final Hearing and thereafter, to the extent provided for in a Final Order.

       11.       Effect of Order for Relief. To the extent this Order is entered by the Court prior to

the entry of an Order for Relief in the Zayat Involuntary Chapter 7 Case, this Order shall, subject

to its terms, remain in full force and effect following the entry of such Order for Relief, and shall

thereafter continue to govern the rights of, and be binding on, all parties, including the Voluntary

Chapter 7 Trustee and any Interim Trustee or Involuntary Chapter 7 Trustee; except, however,

that as to any Interim Trustee or Involuntary Chapter 7 Trustee, this Order shall be interim and not

final as to such rights as he or she may have to challenge the continuation and/or finality of the

terms, conditions, and provisions of this Order solely with respect to (i) the continued excusal of

the Receiver’s compliance with Section 543(b) of the Bankruptcy Code as set forth in paragraph

3 herein; (ii) the Reserved Rights of an Involuntary Chapter 7 Trustee set forth in paragraph 9

hereof; and (iii) the Findings of Fact and Conclusions of Law set forth herein, to the extent that

such Findings of Fact and Conclusions of Law remain applicable prospectively to the period from

and after the date of the Final Hearing, as to which an Interim Trustee or Involuntary Chapter 7

Trustee reserve all rights, claims and causes of action, subject to further Order of the Court at a

Final Hearing.

       12.       Modifications and Amendments. Any material modifications and amendments to

this Order shall be by application filed with the Court, on advance notice provided to counsel for

the Petitioning Creditors, counsel for MGG, any Interim Trustee or Involuntary Chapter 7 Trustee,

the United States Trustee and any party requesting notice of all proceedings.




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        13.     Final Hearing. The Final Hearing to consider entry of the Final Order is scheduled
for November 12, 2020 at 2:30 p.m. (EST) before the Honorable Vincent F. Papalia, United States

Bankruptcy Judge, 3rd Floor, Courtroom 3B, at the United States Bankruptcy Court for the District

of New Jersey, 50 Walnut Street, Newark, New Jersey 07102.

        14.    Notice of Final Hearing. On or before October 14, 2020, MGG shall serve a copy

 of this Order on counsel for the Petitioning Creditors, counsel for Ahmed Zayat, counsel for the

 Voluntary Chapter 7 Trustee, the Office of the United States Trustee, counsel for the Receiver,

 any Interim Trustee or Involuntary Chapter 7 Trustee (as applicable), and all persons or entities

 that have requested notice in the Zayat Involuntary Chapter 7 Case (collectively, the “Notice

 Parties”),whether by email, overnight courier or hand delivery.
        15.     Objection Deadline. Objections, if any, to entry of a Final Order (collectively,

“Objections”) shall be in writing, shall set forth with particularity the grounds for such Objections

or other statements of position, shall be filed with the Clerk of the Court in accordance with the

Local Rules and the Court’s guidelines by November 5, 2020, and shall be served upon the

Notice Parties and MGG. Responses, if any, to such Objection(s) shall be in writing, shall be

filed with the Clerk of the Court in accordance with the Local Rules and the Court’s guidelines

by November 9, 2020, and shall be served on the Notice Parties and MGG. To the extent that an

Interim Trustee or Involuntary Chapter 7 Trustee files an Objection to entry of the Final

Order, MGG hereby reserves its right to file a Response seeking, without limitation, relief

from the automatic stay provisions set forth in Section 362(a) of the Bankruptcy Code (a

“Motion for Stay Relief”), and this Order shall constitute good and sufficient authority for the

scheduling of such hearing on the Motion for Stay Relief on the same date and at the same time

as the Final Hearing. Any opposition to a Motion for Stay Relief shall be filed with the Court

and served on the Notice Parties and MGG by November 11, 2020 at 5:00pm.




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       16.     Adjustment to Scheduled Dates. The scheduling dates set forth in paragraphs 13

through 15 hereof may be modified pursuant to a scheduling conference that any party in interest

may request from the Court (a “Scheduling Conference”). Any Scheduling Conference, and any

adjustments to the dates set forth herein, shall be made on notice to the Notice Parties and MGG.

       17.     No Waiver by Failure to Seek Relief. Any failure of MGG to seek relief or

otherwise exercise its rights and remedies under this Order, the Loan Documents or applicable

law, as the case may be, shall not constitute a waiver of any of the rights hereunder, thereunder or

otherwise of MGG.

       18.     Binding Effect of Order. Subject to the exceptions set forth in subclauses (i), (ii)

and (iii) of paragraph 11 above, immediately upon entry of this Order (notwithstanding any

applicable law or rule to the contrary), the terms and provisions of this Order shall become valid

and binding on the Receiver, Zayat Stables, the Petitioning Creditors, all creditors and equity

holders of the receivership, the U.S. Trustee and all other parties in interest and their respective

successors and assigns, including any trustee or other fiduciary hereafter appointed in the case,

any successor case, or upon dismissal of the case or any successor case.

       19.     Survival. Any dismissal or conversion of this case to a proceeding under another

chapter of the Bankruptcy Code shall not impair the rights provided for in this Order, which shall

remain in full force and effect.

       20.     Effect of this Order. This Order shall constitute findings of fact and conclusions of

law pursuant to Bankruptcy Rule 7052 and shall take effect immediately, notwithstanding anything

to the contrary proscribed by applicable law.



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       21.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce this

Order according to its terms.




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